Case 1:19-cv-10463-RA Document 1-2 Filed 11/11/19 Page 1 of 2




                  EXHIBIT “B”
              Case 1:19-cv-10463-RA Document 1-2 Filed 11/11/19 Page 2 of 2
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                                                              October 30, 1979


 Mr. Daniel R. Thompson
 Bonner, Tho:;ipson, 0 1 Conne 11 & Gayn2s
 900 S2v~nte2nth Street, N.W . .
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 02ar Mr. Thompson:                                                                                       . :-

 flurir:g our conference with you and Mr. Anthony Filundro, Vice Presiden~ of
 Vir-gir.ic [iar2 Extr-act Coinµc1n},=, !r1c., o-f Orovklyn:, ?·!c·.~: Yarl~, O!"! O~t~~e:- !9,
 1979 you r.::ised a question·ccnce:rning _category II vanilla flavor in ice cr2c;:1.
 You requested t~at ~e reply to your question in writing.
                                                                                                                       t
  The.ice crea~ standard under 21 CFR 135.ll01e)(5}(i) states that an artificial
  flavor simulating the charact~rizing flavor shall be de2~ed to predominat~ in
  th2 c~se of vanilla beans or vanilla extract used in com~in~tion with vanillin,
  if the amount.of vanillin used is greater than one ounce per unit of vanilla
  co~stituent as thaf term is defined in §159.3(c}. Consequently, an ice cream
  lil::'.n't.rfacture;-- could not call his product "vanilla flavored_ ice creciT. (Cct~g:l:--_y                           11


  II) if the flavor co~sisted of one ounce of vanillin per unit of v2nill2 con-
. stitu2::t and any flavor from a non-vanilla bean source (which sim;,.;lates., r0-
  52i::!21es~ or reinforces the vanilla flavor) is 2dded to the product. The nor:-
  vanill2 flavor i~ deemed tJ simulate vanilla if th2 add!tion of th~ non-v2nill~
  fl~vor results ir. a .reduction in the amour.t of var.illa bean der-ived flavor
  that would other.-,ise -be used in a vanilla flavored ice cream. ice cream r.1ade
  from su::h a product would come under._c:·ategor-y III and have tc b2 labeled as
 11
      ur-tificial vanilla''.                                                 ·
He hope this adeq~ctely ans:•;ers-the-i~-sti-or. -you-rats-ed at---uur-----..re-eting_
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                                                                      Sincerely yours,.                                                          ';.;;.



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                                                                      Assista~~ to th2 Dire:tor
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